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                  EXHIBIT 13
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1                       UNITED STATES DISTRICT COURT

2                   FOR THE WESTERN DISTRICT OF NEW YORK

3     - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

4     BLACK LOVE RESISTS IN THE RUST, et al.,

5     individually and on behalf of a class of

6     all others similarly situated,

7                                          Plaintiffs,

8     vs.                                                   1:18-cv-00719-CCR

9     CITY OF BUFFALO, N.Y.,        et al.,

10                                         Defendants.

11    - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

12                  ORAL EXAMINATION OF KEVIN BRINKWORTH

13                             APPEARING REMOTELY FROM

14                                BUFFALO, NEW YORK

15

16                            Wednesday, March 16, 2022

17                              9:08 a.m. - 4:43 p.m.

18                               pursuant to notice

19

20

21    REPORTED BY:

22    Luanne K. Howe

23    APPEARING REMOTELY FROM CUYAHOGA COUNTY, OHIO
     Case 1:18-cv-00719-CCR   Document 219-13   Filed 07/12/24   Page 3 of 5   2


1                    R E M O T E     A P P E A R A N C E S

2

3     APPEARING FOR THE PLAINTIFFS:

4           NATIONAL CENTER FOR LAW AND ECONOMIC JUSTICE
            BY: CLAUDIA WILNER, ESQ.
5           275 Seventh Avenue, Suite 1506
            New York, New York 10001
6           212-633-6967

7     APPEARING FOR THE DEFENDANTS:

8           CITY OF BUFFALO LAW DEPARTMENT
            BY: CHRIS POOLE, ESQ.
9           ASSISTANT CORPORATION COUNSEL
            1100 City Hall
10          65 Niagara Square
            Buffalo, New York 14202
11          716-851-4343

12    ALSO PRESENT:

13          CHRISTINE NELSON, ESQ.
            Covington & Burling LLP
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1       A     I don't recall seeing tow trucks set up there, no.

2       Q     Were K-9 dogs at the roadblocks that you attended?

3       A     Not that I recall.

4       Q     How were the locations for the Strike Force

5             roadblocks determined?

6       A     I don't know.

7                             MR. POOLE:    Pardon me, Claudia.        I

8                       apologize.    Can we go off the record for a

9                       second?

10                            MS. WILNER:    Sure.

11                    (Discussion held off the record.)

12                            MS. WILNER:    Would you be able to just

13                      read back the last question and answer so we

14                      can remember where we were?

15                        (Record read by reporter.)

16            BY MS. WILNER:

17      Q     So who did set the checkpoint locations?

18      A     Originally, it was Derenda.

19      Q     And did there come a time when Derenda stopped

20            setting checkpoint locations?

21      A     There was a point the lieutenants picked up.

22      Q     At the beginning, Derenda would send daily emails

23            with checkpoint locations, right?
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1                             MR. POOLE:   Form.

2       Q     And did working overtime also give opportunities --

3             excuse me.

4                    Did working overtime also give officers the

5             opportunity to increase their pensions?

6       A     Yes.

7       Q     Did you see overtime opportunities as a reward for

8             production?

9       A     No.

10      Q     Did you correct Captain Roberts' belief that overtime

11            is a reward for production?

12      A     I don't recall having that conversation.

13      Q     Did you ever look into whether Captain Roberts was

14            communicating down the chain of command that overtime

15            was available as a reward for production?

16      A     I did not hear that.

17      Q     And did you look to see whether that was happening?

18      A     No.

19      Q     As chief, did you have a philosophy about how best to

20            use overtime?

21      A     I had little or no authority in that regard.             I had

22            no control over how overtime was meted out or how

23            details were set up.      That was not anything that I
